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11   UNITED STATES OF AMERICA AND
     TRACY L. WILKISON AND KRISTI KOONS JOHNSON
12   IN THEIR OFFICIAL CAPACITY ONLY
13                             UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                    WESTERN DIVISION
16   PAUL SNITKO, JENNIFER SNITKO,                  Case No. 2:21-cv-04405-RGK-MAR
     JOSEPH RUIZ, TYLER GOTHIER,
17   JENI VERDON-PEARSONS,                          JOINT STIPULATION AND
     MICHAEL STORC and TRAVIS MAY,                  REQUEST TO CONTINUE BRIEFING
18                                                  AND TRIAL DATES BY 60 DAYS;
                 Plaintiffs,                        DECLARATION OF FBI DISCOVERY
19                                                  UNIT CHIEF DEBORAH H. CRUM;
                        v.                          [PROPOSED] ORDER THEREON
20                                                  LODGED UNDER SEPARATE
     UNITED STATES OF AMERICA, ET                   COVER
21   AL.,
22               Defendants.
23

24

25
           Plaintiffs Paul Snitko, Jennifer Snitko, Joseph Ruiz, Tyler Gothier, Jeni Verdon-

26
     Pearsons, Michael Storc and Travis May (collectively, “Plaintiffs”), on the one hand, and

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     Defendants United States of America and Tracy L. Wilkison and Kristi Koons Johnson

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     in their official capacity only (collectively, “Defendants” or “the government”), on the
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1    other hand, hereby stipulate and agree and respectfully request, by their respective
2    counsel, that the Court continue the briefing schedule and trial dates set forth in the
3    Court’s Order dated May 16, 2022 (ECF No. 103) by sixty days. The parties
4    respectfully submit that good cause exists for the continuance for the reasons set forth
5    below:
6          1.     This is a certified class action challenging as unconstitutional the
7    government’s search and seizure of hundreds of safe-deposit boxes at U.S. Private
8    Vaults (“USPV”). The parties are seeking a 60-day continuance of all deadlines in this
9    case, and will not be requesting any further extensions as they will be ready and able to
10   proceed at that time. The background of this matter regarding the instant request for one
11   final continuance is set forth below.
12         2.     Pursuant to the Court’s scheduling order, the scheduling conference held on
13   November 8, 2021 and the Court’s November 12, 2021 Order for Court Trial, the Court
14   set this matter for a trial-on-the-briefs with the following deadlines: opening briefs (June
15   21, 2022), opposition briefs (July 12, 2022), reply briefs (July 19, 2022) and court trial
16   (July 26, 2022). ECF Nos. 82 (Order for Court Trial [see page 8 re trials-on-the-briefs])
17   and 83 (minute order re scheduling conference). See also ECF No. 101 (May 12, 2022
18   joint stipulation to continue briefing schedule and trial dates) at ¶¶ 2 and 3 and ECF No.
19   101-2 (transcript of scheduling conference, Ex. A to Frommer Decl.).
20               The May 12, 2022 Stipulation Requesting A 90-Day Continuance
21            And The Court’s May 16, 2022 Order Continuing Deadlines By 30 Days
22         3.     By order dated May 16, 2022, based on the parties’ joint stipulation to
23   continue the briefing and trial dates by 90 days filed May 12, 2022 (the “May 12, 2022
24   Stipulation”), the Court continued the deadlines by thirty days, resulting in the following
25   and presently-existing deadlines: opening briefs (July 19, 2022), opposition briefs
26   (August 9, 2022), reply briefs (August 16, 2022), court trial (August 23, 2022). ECF
27   Nos. 101 (joint stipulation) and 103 (May 16, 2022 court order). By the instant
28   stipulation, the parties are requesting that the deadlines be continued for 60 days as
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1    follows: opening briefs (September 13, 2022), opposition briefs (October 4, 2022), reply
2    briefs (October 11, 2022) and court trial (October 18, 2022). In the May 12, 2022
3    Stipulation, the parties offered the following reasons (set forth in paragraphs 4 and 5
4    below), among others, in support of their request, which reasons are reiterated because
5    they bear on the instant continuance request.
6          4.     On November 5, 2022, plaintiffs propounded their first sets of merits
7    discovery requests seeking, among other things, the production of documents reflecting
8    inventorying of the March 2021 search at USPV, which would consist of written
9    documents reflecting the inventorying and videotapes showing the inventorying of the
10   boxes. ECF No. 101 at ¶ 4. The government committed to producing these items to
11   plaintiffs, as soon as they were available. Id. at ¶ 5. In opposing plaintiffs’ ex parte
12   application to compel production of these items, which was denied, the government
13   explained the reasons production of these items had been delayed. Id. at ¶ 12. Generally
14   speaking, the government advised that redaction and production of these items, which
15   included personal identifying information (“PII”) of third parties and documents that
16   could not lawfully be produced absent entry of a Privacy Act Protective Order, required
17   that the protective order first be entered. Id. Magistrate Judge Rocconi adopted the
18   government’s version of a protective order (ECF No. 90), as a result of a decision on
19   plaintiffs’ discovery motion, and entered the protective order on April 8, 2022 (ECF No.
20   92). ECF No. 101 at ¶ 12.
21         5.     In the May 12, 2022 stipulation, the government advised it had produced
22   approximately 5,000 pages of documents to plaintiffs on May 5, 2022 and that, in the
23   government’s view, that production completed the government’s production of written
24   inventorying documents, except for any disputes the parties had concerning redactions to
25   those documents. Id. at ¶ 13. In addition, the government noted it had approximately 48
26   videotapes to produce (id.), which it intended to produce after making redactions thereto.
27   In a status report filed May 9, 2022, the government advised it would be producing the
28   videos when they were available and on a rolling basis. ECF No. 100.
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1                   The Discovery Produced After The May 12, 2022 Stipulation
2          6.      After the parties submitted the May 12, 2022 Stipulation, the government
3    produced a total of 63 videotapes after they were processed. On May 20, 2022, the
4    government produced 23 videotapes; on May 26, 2022, the government produced 20
5    additional videotapes; and on June 3, 2022, the government produced 20 more
6    videotapes.
7          7.      Plaintiffs diligently and thoroughly reviewed the government’s productions
8    as they were received on a rolling basis. On June 2, 2022, plaintiffs explained in a letter
9    to the government that, based on plaintiff’s review of the documents received so far, the
10   government’s anticipated production of 60 video inventories did not appear to account
11   for the total number of video inventories of class members’ boxes that were created. The
12   letter also raised concerns about certain redactions. Plaintiffs raised similar concerns
13   regarding missing video and inventory documents and about redactions in letters dated
14   June 10 and June 17, 2022.
15         8.      On June 17, 2022, the government produced approximately 1,000 additional
16   pages of documents regarding the inventorying, in response to plaintiffs’ notifications
17   about the missing documents. On June 24, 2022, the government produced
18   approximately 500 additional pages of documents, which had previously been produced
19   with redactions. The June 24, 2022 production removed redactions from those
20   documents, after the parties conferred regarding the redactions and largely resolved the
21   issue, without Court intervention.
22         9.      Accordingly, between May 5, 2022 and June 24, 2022, the government
23   produced approximately 6,500 pages of documents and over 60 videotapes to plaintiffs.
24              Depositions Taken By Plaintiffs And Scheduled Additional Depositions
25         10.     The May 12, 2022 Stipulation also sets forth the following. Although
26   plaintiffs wished to have all responsive documents and videotapes before taking
27   depositions, plaintiffs nevertheless proceeded with the following depositions in this case.
28   On April 28, 2022, Plaintiffs deposed FBI Special Agent Justin Palmerton and on May 6,
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1    2022, Plaintiffs deposed Special Agent Lynne Zellhart. ECF No. 101 at ¶ 8.
2          11.     Plaintiffs have taken additional depositions since the May 12, 2022
3    Stipulation was filed. On June 28, 2022, Plaintiffs deposed Special Agent Lyndon
4    Versoza, on June 30, 2022, Plaintiffs conducted a 30(b)(6) deposition of the government,
5    and on July 6, 2022, Plaintiffs deposed Special Agent Justin Carlson.
6          12.    The parties have also scheduled further depositions, including an additional
7    30(b)(6) deposition for July 11, 2022 and depositions of the seven plaintiffs from July
8    13, 2022 to July 15, 2022.
9                        The Remaining Written Inventory Documents And
10                        Videotapes The Government Will Produce And
11                                Estimated Time For The Production
12         13.    On June 24, 2022, plaintiffs identified, by USPV box number, videotapes
13   for about 100 boxes and written inventorying documents for approximately 56 boxes that
14   plaintiffs advised, based upon Plaintiffs’ continued review of documents the
15   government’s produced, appeared to be missing. The government investigated
16   plaintiffs’ assertions and, as a result thereof, is preparing to produce additional
17   documents and videotapes to plaintiffs. As set forth in the attached declaration of FBI
18   Discovery Unit Chief Deborah H. Crum, the FBI Discovery Unit the FBI discovery Unit
19   is in the process of producing videos for the remaining approximately 90 boxes and the
20   remaining written inventorying documents for approximately 56 boxes. The FBI
21   Discovery Unit will be producing the written inventorying documents to government
22   counsel of record in this case within a few days, so that government counsel can review
23   those documents and process them (e.g., reviewing and bates stamping) so they can be
24   produced to plaintiffs. The FBI Discovery Unit previously processed and produced 63
25   videos, which varied in length, that the Discovery Unit was able to process, by removing
26   PII, at the rate of about 20 videos per week. As to the remaining videos to be produced,
27   the Discovery Unit will be able to produce them at a faster rate, with the first batch to be
28   produced within two weeks, and the additional videos produced on a rolling basis
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1    thereafter. The outside and most conservative estimate to complete the entire production
2    of the videos, recognizing that before the outside deadline videos will be produced on a
3    rolling basis, will be five weeks. Crum Decl. ¶¶ 8-13.
4             14.   Plaintiffs have diligently reviewed the government’s rolling productions as
5    soon as they were received and have promptly notified the government of any missing
6    materials. The discovery materials that the government has not yet produced are
7    critically important to the central disputes in this case. Plaintiffs maintain that their
8    ability to fully litigate this matter on their own behalf and on behalf of the class will be
9    prejudiced if they are forced to brief the merits of this dispute before receiving all the
10   relevant discovery.
11            15.   This case raises important constitutional questions, the resolution of which
12   will implicate broader public interests beyond the parties and the class. The public
13   interest favors the modest extension requested here so that these issues may be resolved
14   on a fully developed factual record.
15            16.   As set forth above, the parties have requested one prior continuance of these
16   dates.
17            17.   On July 11, 2022, and pursuant to Local Rule 40-1.1, the parties notified the
18   Clerk that they are submitting for approval of the Court a stipulation for the continuance
19   of the dates in this case.
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1          18.   WHEREFORE, the parties respectfully request that the Court enter the
2    proposed order, attached hereto, extending the deadlines by 60 days as follows: opening
3    briefs (September 13, 2022), opposition briefs (October 4, 2022), reply briefs (October
4    11, 2022) and court trial (October 18, 2022).
5    Dated: July 11, 2022                  Respectfully submitted,
6
                                            /s/ Robert Frommer                                 _
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